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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


                            STANDING ORDER ON
                    PRISONER ELECTRONIC FILING PROGRAM



        The United States District Court for the District of Connecticut (the “Court”) and

the Connecticut Department of Correction (the “DOC”) have agreed to conduct a

Prisoner Electronic Filing Program (the “Program”). The Program is designed to

reduce the costs of processing court filings made by prisoners in civil rights cases

brought under 42 U.S.C.'1983 and habeas corpus actions filed pursuant to 28

U.S.C. '2254 and 28 U.S.C. '2241. The Program will significantly reduce

expenditures for paper, envelopes, copier supplies and postage for the correctional

facilities and the inmates. In addition, it will significantly reduce the amount of staff

time spent processing prisoner court filings, for both the DOC and the Court.

        The Program applies to all cases brought by prisoners who are currently

incarcerated at a DOC facility. All documents filed by prisoners must be filed

electronically using the Program procedures.

        In any case governed by the Program, prisoners shall file documents with the

Clerk using the following procedures:

   1.      Correctional staff will date-stamp each prisoner filing upon receipt, prior to

           scanning, signifying that the document was scanned for filing with the

           Clerk at a specific date and time. Documents shall be deemed filed with the

           Clerk on the date scanned, as shown by the date stamp.

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     2.      Correctional staff will scan to PDF each document presented by a prisoner

             for filing with the Clerk. Once a document has been scanned it will then be

             returned to the prisoner for their records.

     3.      Correctional staff will email the PDF documents to the Clerk as they are

             created. Clerk’s Office staff will be available by telephone to answer any

             questions correctional staff may have as they email documents to the

             Clerk.

     4.      The Clerk will e-file prisoners documents upon receipt. For prisoner filings

             the Notice of Electronic Filing (“NEF”) generated by the Courts electronic

             case filing system will constitute service upon and notice to other parties

             who are registered in the Courts electronic case filing system. The Clerk

             will send a copy of prisoner e-filed documents by U.S. Mail to any non-

             registered parties on behalf of the prisoner; prisoners do not need to mail

             service copies to any other party.

5.           If a prisoner has been granted leave to proceed in forma pauperis, the Clerk

             will produce the copies of the complaint necessary to accomplish service

             and will arrange for service of the complaint, following entry of an Initial

             Review Order by the presiding judge.

6.           Each correctional facility will establish an email address at which

             correctional staff can receive the NEF that issues when a document has

             been filed electronically with the Clerk. Correctional staff will print all NEFs

             they receive and provide them to the appropriate prisoners as proof that the

             documents have been filed with the Court. Any Order that is issued by the

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         Court as a PDF document will be mailed to the prisoner by U.S. Mail.

7.       Defendants will be allowed to e-file documents with the Clerk in prisoner

         cases governed by the Program, but must send a copy of any document

         they file to the prisoner by U.S. Mail. The NEF generated when the

         defendants e-file a document will serve as notice to the prisoner that the

         document was filed and should be received shortly by U.S. Mail.


     SO ORDERED.

           Dated at New Haven, Connecticut, this 22th day of June 2016.




                                               /s/ Janet C. Hall
                                               Janet C. Hall
                                               Chief United States District Judge




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